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                            EXHIBIT 5
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 By Email                                                            April 23, 2024

 W. Mark Lanier
 The Lanier Law Firm, P.C.
 1095 W. Sam Houston Pkwy N.
 Ste. 100 Houston, TX 77064


        Re: State of Texas et al. v. Google LLC, No. 4:20-CV-00957-SDJ
              (E.D. Tex.) - Subpoena Issued to Meta Platforms, Inc.

 Counsel:

         On behalf of our client, Meta Platforms Inc. (“Meta”), we are enclosing the following
 document productions in response to Texas’s March 29, 2024 subpoena to produce documents
 in State of Texas et al. v. Google LLC, No. 4:20-CV-00957-SDJ (the “Subpoena”):




     Volume Name                                       Bates Range
  METATXAG001                    FBDOJ012651839 - FBDOJ013065686
  METATXAG002                    FBDOJGOOG_00770168 - FBDOJGOOG_01390488
  METATXAG003                    FBDOJGOOG_00000001 - FBDOJGOOG_01494984
  METATXAG004                    METAGOOG00005192 - METAGOOG00041374
  METATXAG005                    METAGOOG00000001 - METAGOOG00005191
  METATXAG006                    METATX00000001 - METATX_000002278


        We will send you the respective passwords under a separate cover email.

         Consistent with our agreement set forth via email, Meta considers this a complete
 response to the document requests in the Subpoena and assumes no further production
 obligations.

                                          *       *       *

        Through making this production, Meta does not intend to waive, and is not waiving, any
 claim of privilege to which it is entitled. Accordingly, any inadvertent submission of a privileged
 document does not preclude the subsequent assertion of a claim of attorney-client privilege,




 CONFIDENTIAL
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 joint defense privilege, work product, or any other applicable privilege or protection in the
 future with respect to the document or the subject matter of the document.

         Meta does not agree to any disclosure of the above-described materials and reserves all
 rights as a non-party pursuant to the protective order entered in this matter. Meta requests
 prompt notification in the event Texas receives a request to review this letter or its enclosure.
 Meta also requests that it be furnished a copy of all written materials pertaining to such request
 (including without limitation the request itself) and be given advance notice of any intended
 release so that Meta may address such potential disclosure and, if necessary, pursue alternative
 remedies. Meta requests that this letter and the information submitted to you be destroyed or
 returned when the matter concludes pursuant to the protective order.




                                                                     Regards,

                                                                     s/ E. Kate Patchen
                                                                     E. Kate Patchen




 Enclosures
